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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


RED CARPET STUDIOS DIVISION
OF SOURCE ADVANTAGE, LTD.,                               Civil Action No. 1:12-cv-0501

               Plaintiffs,                               JUDGE BARRETT
                                                         MAGISTRATE JUDGE LITKOVITZ
        v.

MIDWEST TRADING GROUP,
INC., et al.,
                                                         Counterclaim Endorsed Hereon
               Defendants.



                  ANSWER AND COUNTERCLAIM OF DEFENDANT
                       MIDWEST TRADING GROUP, INC.



        And now, Defendant Midwest Trading Group, Inc. (“Midwest”), for its Answer to the

Complaint of Plaintiffs, avers and pleads as follows:


I.      ANSWER TO PLAINTIFFS’ COMPLAINT

        1.     Paragraph 1 of Plaintiff’s Complaint consists entirely of unsubstantiated legal

assertions, to which no response is required. To the extent a response is required,

Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of Paragraph 1 of

Plaintiffs’ Complaint, and therefore denies the same.

        2.     Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of

Paragraph 2 of Plaintiffs’ Complaint, and therefore denies the same.

        3.     Midwest admits the allegations of Paragraph 3 of Plaintiffs’ Complaint.

        4.     Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of

Paragraph 4 of Plaintiffs’ Complaint, and therefore denies the same.
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       5.      Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of

Paragraph 5 of Plaintiffs’ Complaint, and therefore denies the same.

       6.      Paragraph 6 of Plaintiff’s Complaint consists entirely of unsubstantiated legal

assertions, to which no response is required. To the extent a response is required, Midwest lacks

knowledge sufficient to form a belief as to the truth or falsity of Paragraph 6 of Plaintiffs’

Complaint, and therefore denies the same. By way of further Answer, Midwest specifically

denies that this Court holds personal and/or subject matter jurisdiction over Midwest in this

matter, or that this Court is an appropriate forum to hear this dispute. Strict proof is demanded.

       7.      Paragraph 7 of Plaintiff’s Complaint consists entirely of unsubstantiated legal

assertions, to which no response is required. To the extent a response is required, Midwest lacks

knowledge sufficient to form a belief as to the truth or falsity of Paragraph 6 of Plaintiffs’

Complaint, and therefore denies the same. By way of further Answer, Midwest specifically

denies that it has sold the allegedly infringing product in this district, or that this Court holds

personal and/or subject matter jurisdiction over Midwest in this matter, or that this Court is an

appropriate forum to hear this dispute. Strict proof is demanded.

       8.      Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of

Paragraph 8 of Plaintiffs’ Complaint, and therefore denies the same.

       9.      Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of

Paragraph 9 of Plaintiffs’ Complaint, and therefore denies the same.

       10.     Midwest admits so much of Paragraph 10 of the Complaint as alleges that

Midwest has sold for distribution a Solar Powered Spinning Light marketed under the names

“Solar Mate” and “Journey’s Edge”.         Midwest specifically denies that it has distributed,

produced, sold or offered for sale a Solar Powered Spinning light marketed under the names




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“Solar Mate” and “Journey’s Edge” within this district. All other allegations contained in

Paragraph 10 of Plaintiffs’ Complaint are denied.

       11.     Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of

Paragraph 11 of Plaintiffs’ Complaint, and therefore denies the same.

       12.     Midwest lacks knowledge sufficient to form a belief as to the truth or falsity of

Paragraph 12 of Plaintiffs’ Complaint, and therefore denies the same.

       13.     In response to Paragraph 13 of Plaintiffs’ Complaint, Midwest incorporates by

reference its answers to the allegations of Paragraphs 1-12 as if fully set forth herein.

       14.     Midwest denies the allegations of Paragraph 14 of Plaintiffs’ Complaint.

       15.     Midwest denies the allegations of Paragraph 15 of Plaintiffs’ Complaint.

       16.     Midwest denies the allegations of Paragraph 16 of Plaintiffs’ Complaint.

       17.     Midwest admits so much of Paragraph 17 of Plaintiffs’ Complaint as alleges that

Plaintiff provided some notice of alleged infringement.         All other allegations contained in

Paragraph 17 of Plaintiffs’ Complaint are denied.

       18.     Midwest denies the allegations of Paragraph 18 of Plaintiffs’ Complaint.


                               FIRST AFFIRMATIVE DEFENSE

       19.     The Complaint fails to state a claim upon which relief can be granted.


                             SECOND AFFIRMATIVE DEFENSE

       20.     Plaintiffs’ claims are barred in whole, or in part, by the doctrines of ratification,

waiver, and/or estoppel.


                              THIRD AFFIRMATIVE DEFENSE

       21.     This Court lacks personal jurisdiction over Midwest.



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                             FOURTH AFFIRMATIVE DEFENSE

       22.      This Court is an improper venue for this Complaint.


                              FIFTH AFFIRMATIVE DEFENSE

       23.      The patents at issue in the Complaint were improperly issued, are unenforceable

and are void.

                              SIXTH AFFIRMATIVE DEFENSE

       24.      Plaintiffs’ claims are barred by unclean hands and/or failure to mitigate damages.



                                     COUNTERCLAIM
                                 TORTIOUS INTERFERENCE

       25.      At all times relevant to this Counterclaim, Plaintiff/Counterclaim Defendant Red

Carpet Studios Division of Source Advantage, Ltd. (“Red Carpet”) has known, or should have

known, that the patents at issue in its Complaint are void ab initio and unenforceable.

       26.      At all times relevant to this Counterclaim, Red Carpet has known, or should have

known, that Midwest enjoyed contractual and business relationships with Walgreen Company

and CVS Pharmacy, Inc. involving the overseas sale for distribution of Solar Powered Spinning

Lights marketed under the names “Solar Mate” and “Journey’s Edge”.

       27.      By bringing this action, Red Carpet has purposefully sought, without privilege, to

interfere in Midwest’s business and contractual relationships for the sale of Solar Powered

Spinning Lights marketed under the names “Solar Mate” and “Journey’s Edge”.

       28.      By bringing this action, Red Carpet has purposefully interfered, without privilege,

in Midwest’s business and contractual relationships for the sale of Solar Powered Spinning

Lights marketed under the names “Solar Mate” and “Journey’s Edge”, directly and proximately

causing damages in an amount to be proven at trial.


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        29.       By bringing this action, Red Carpet has tortiously interfered with Midwest’s

business and contractual relationships for the sale of Solar Powered Spinning Lights marketed

under the names “Solar Mate” and “Journey’s Edge”.

        WHEREFORE, Defendant Midwest respectfully requests an Order:

        a. dismissing Plaintiffs’ Complaint in its entirety,

        b. awarding Defendant Midwest its costs and attorney’s fees, and prejudgment interest,

        c. awarding damages on Midwest’s counterclaim in an amount to be specifically proven

              at trial.

                                                     Respectfully submitted,

                                                     CARLILE PATCHEN & MURPHY LLP

                                                     By: /s/ Carl A. Aveni, II
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                                 CERTIFICATE OF SERVICE

        Undersigned counsel hereby certifies that the foregoing was electronically transmitted to
the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of Electronic
Filing, this 20th day of October, 2014. Parties may access this filing through the Court’s system.




                                                      /s/ Carl A. Aveni, II
                                                      Carl A. Aveni, II (0070664)


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